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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                Case No. 21-CR-00052 (TKJ)-2
       -v-
WILLIAM JOSEPH PEPE,
                Defendant.

          MOTION FOR ADMISSION PRO HAC VICE OF JOHN M. PIERCE

       Pursuant to Local Civil Rule 83.2(d), Robert L. Jenkins, Jr., a member of the bar of this

Court and counsel for Defendant, hereby moves for the admission pro hac vice of John M. Pierce

in the above-captioned case. In support of this motion, the undersigned states as follows:

       1. I am a member in good standing of the Bar of this Court.

       2. John M. Pierce is an attorney with Pierce Bainbridge P.C. and maintains his office at

             355 S. Grand Avenue, 44th Floor, Los Angeles, CA 90071.

       3. As set forth in the attached declaration, John M. Pierce is an active member in good

             standing of the state bar of California (250443).

       4. John M. Pierce does not wish to be admitted generally, but for the purposes of this

             case only.

       WHEREFORE, movant respectfully requests that the Court enter an order permitting

John M. Pierce to appear pro hac vice in the above-captioned case.
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Dated: March 25, 2021               /s/ Robert L. Jenkins, Jr.
                                    Robert L. Jenkins Jr., Esq.
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                                    Attorneys for Defendant William Joseph Pepe
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                          CERTIFICATE OF SERVICE

      I hereby certify that, on March 18, 2021, this motion and the accompany

declaration was filed via the Court’s electronic filing system, which constitutes

service upon all counsel of record.

                                        /s/ Robert L. Jenkins, Jr.
                                        Robert L. Jenkins Jr.
